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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY

                                    )
IN RE: JOHNSON & JOHNSON            )
TALCUM POWDER PRODUCTS              )
MARKETING, SALES PRACTICES AND )            MDL Docket No. 2738
PRODUCTS LIABILITY LITIGATION       )
___________________________________ )
                                    )
This Document Relates To All Cases  )
                                    )

  DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT,
    LLC’S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
 STRIKE REBUTTAL EXPERT REPORT OF DR. ELIZABETH STUART
   ______________________________________________________________

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      Plaintiffs have attempted to slip in an expert declaration by Elizabeth Stuart,

a completely new expert to this litigation, by attaching it to their motion to exclude

the opinions of Dr. John Kornak. This declaration is highly improper because it

comes long after the deadline for plaintiffs to identify new experts and violates

Judge Singh’s order that all expert opinions responding to the O’Brien 2024 paper

by either side were due on May 28, as well as Judge Shipp’s orders setting

deadlines for expert reports.1 Needless to say, a party cannot evade expert

disclosure deadlines by including a declaration from a new expert in a Daubert

motion.

      Moreover, because the Court has prohibited any further depositions of

plaintiffs’ experts or any other modifications of the current pretrial schedule,

defendants would never have an opportunity to meaningfully challenge Dr. Stuart’s

new opinions in advance of trial. That is exactly the kind of prejudice that Rule 26

is designed to prevent. For all of these reasons, the Court should strike the Stuart

declaration.

                                  BACKGROUND


1
      Under Paragraph 2 of Judge Shipp’s July 22, 2024 Order, “Plaintiffs should
have served, if necessary, supplemental and amended disclosures of all general
and case-specific experts pursuant to Rule 26(a)(2)(A) and served on Defendants’
counsel the Rule 26(a)(2)(B) reports of all general and case-specific expert
witnesses they may use at trial in any of the Stage Three cases on or before
November 15, 2023.” (ECF No. 32991 at 1 (emphasis added).)
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      On May 17, 2024, four days before defendants’ expert disclosures were to

be served, plaintiffs alerted the Court to the publication of a new paper entitled

“Intimate Care Products and Incidence of Hormone-Related Cancers: A

Quantitative Bias Analysis” by Katie O’Brien et al. (“O’Brien 2024”). (See ECF

No. 32197.) Defendants responded by requesting that the May 21 deadline for

defendants’ expert reports be extended so that the defense experts could address

the new paper. (ECF No. 32198; see also May 20, 2024 11:56 AM Email from L.

O’Dell to Judge Singh (Ex. 1 to Decl. of Susan Sharko (“Sharko Decl.”).)

Defendants initially proposed extending the deadline for plaintiffs’ supplemental

reports regarding O’Brien 2024 to May 28, 2024 with follow-up two-hour

depositions of plaintiffs’ experts, and an extension of the deadline for defense

reports until June 14, 2024. (See May 20, 2024 12:11 PM Email from S. Sharko to

Judge Singh (Sharko Decl. Ex. 2).) Plaintiffs rejected this proposal, arguing that it

would “up-end the Daubert deadlines” and demanded simultaneous disclosure of

all expert reports on May 28, 2024 with no additional depositions of plaintiffs’

experts. (See May 20, 2024 11:56 AM Email from L. O’Dell to Judge Singh

(Sharko Decl. Ex. 1).)

      In response, defendants proposed a modestly staggered disclosure schedule:

plaintiffs would file their supplemental reports to address O’Brien 2024 by May

28, 2024, and defendants would file their reports three days later, on May 31, so



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that defense experts would at least “have the ability to see Plaintiffs’ experts’ new

opinions on the O’Brien paper before issuing their reports.” (May 20, 2024 12:11

PM Email from S. Sharko to Judge Singh (Sharko Decl. Ex. 2).) Plaintiffs again

rejected this proposal, insisting that “the parties should serve their respective

reports on May 28th simultaneously.” (May 20, 2024 11:56 AM Email from L.

O’Dell to Judge Singh (Sharko Decl. Ex. 1).) Nowhere in plaintiffs’

communications did they request, let alone raise the possibility of, introducing

rebuttal reports at a later date. (Id.)

       Magistrate Judge Singh denied defendants’ proposal of a three-day staggered

disclosure schedule and ordered simultaneous expert submissions from defendants

and plaintiffs by May 28, 2024. (ECF No. 32214.) Judge Singh also ordered that

“[n]o further depositions of Plaintiffs’ experts will be granted.” (Id.) Thus,

defendants were not permitted to rebut plaintiffs’ experts’ opinions on O’Brien

2024. Conversely, plaintiffs were able to depose defense experts on their opinions

concerning O’Brien 2024.

       Nonetheless, on July 23, 2024—56 days after plaintiffs’ deadline to file their

supplemental reports concerning O’Brien 2024—plaintiffs disclosed a new rebuttal

report from a new expert, Dr. Stuart, by attaching the report as an exhibit to their

Daubert motion to exclude expert Dr. Kornak. (See ECF Nos. 33011-1 & 33011-

11.) Even though plaintiffs have had Dr. Kornak’s opinions since May 28, and



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were aware that all Daubert briefing was due July 23, 2024, they never requested

permission to file a rebuttal report or alerted defendants to the possibility that they

would file a rebuttal report.

                                    ARGUMENT
      Federal Rule of Civil Procedure 26(a)(2)(D) requires parties to make expert

disclosures “at the times and in the sequence that the court orders.” Fed. R. Civ. P.

26(a)(2)(D). In addition, Federal Rule of Civil Procedure 37(c)(1) states that “[i]f

a party fails to provide information or identify a witness as required by Rule 26(a)

or (e), the party is not allowed to use that information or witness to supply

evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

justified or is harmless.” Fed. R. Civ. P. 37(c)(1). “[T]he party who failed to

timely disclose[] ‘ha[s] the burden to prove “substantial justification for its conduct

or that the failure to produce was harmless.”’” Perez v. Great Wolf Lodge of the

Poconos LLC, No. 3:12-CV-01322, 2017 U.S. Dist. LEXIS 19251, at *10 (M.D.

Pa. Feb. 9, 2017) (citations omitted).

      The Court should strike Dr. Stuart’s rebuttal report under this standard

because: (1) it violates the applicable case management orders without substantial

justification; (2) it is highly prejudicial; and (3) the prejudice cannot be rectified in

light of the Court’s explicit statement that further extensions related to expert

evidence will not be considered.



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      First, plaintiffs’ disclosure of Dr. Stuart’s rebuttal report is clearly untimely

and constitutes a “flagrant disregard” of the Court’s case management orders. See,

e.g., Allen v. Parkland Sch. Dist., 230 F. App’x 189, 194 (3d Cir. 2007) (affirming

district court’s exclusion of belatedly disclosed experts given plaintiff’s “flagrant

disregard of the [d]istrict [c]ourt’s order requiring experts to be designated” nine

months earlier); Perez, 2017 U.S. Dist. LEXIS 19251, at *9-10 (submission of five

new expert reports from new witnesses was “untimely” under the court’s

scheduling order and thus violated Rules 26(a) and (e)). Those orders clearly

prohibited rebuttal reports; rather, the parties were required to serve any

supplemental reports related to O’Brien simultaneously on May 28, 2024.

      Plaintiffs have contravened those orders on multiple levels, not only serving

a previously undisclosed rebuttal report but also injecting an entirely new expert

who has had no previous involvement in this litigation. See Oracle Am., Inc. v.

Google Inc., No. C 10-03561 WHA, 2011 WL 5572835, at *2-3 (N.D. Cal. Nov.

15, 2011) (barring “a new expert who did not serve any opening report” from

making “a reply submission attacking the opposition reports served by the other

side” because even though not explicit, “[t]he case management scheduling order

cannot fairly be read to bless expansion of the expert roster at the reply stage”).

      Moreover, plaintiffs’ attempt to “disclose” Dr. Stuart’s report by an

attachment to their Daubert motion, long after expert discovery was completed,



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separately violates Rule 26 because “merely attaching [an expert report] to a brief

does not constitute ‘disclosure’” under Rule 26. See, e.g., United States v. Brace,

334 F.R.D. 472, 476-84 (W.D. Pa. 2020) (excluding expert report that was not

served on plaintiff until it was attached as an exhibit to defendants’ Rule 60(b)(5)

motion, in part, because “merely attaching exhibits to a brief does not constitute

‘disclosure’” under Rule 26); Forrestal Guarani S.A. v. Daros Int’l, Inc., No. 03-

4821 (FSH), 2012 WL 13187472, at *6 (D.N.J. Apr. 2, 2012) (“Forrestal’s attempt

to introduce an expert report in an opposition brief to a [m]otion for [s]ummary

[j]udgment, and at this late stage of the case, is improper and prejudicial and in

complete and utter disregard of” the court’s case management orders). There is no

—much less substantial—justification for this eleventh-hour procedurally improper

disclosure nearly two months after plaintiffs first notified the Court of O’Brien

2024’s publication.

      Second, plaintiffs’ untimely disclosure is also highly prejudicial because it

has effectively given them the last word on scientific evidence that plaintiffs claim

supports their theory of causation. This is doubly unfair since plaintiffs bear the

burden of proof in this case. See, e.g., Sandata Techs., Inc. v. Infocrossing, Inc.,

Nos. 05 Civ. 09546(LMM)(THK) & 06 Civ. 01896(LMM)(THK), 2007 WL

4157163, at *1 (S.D.N.Y. Nov. 16, 2007) (“It is routine that the party with the

burden of proof on a particular issue be the first to submit its expert reports



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addressing the issue. The other party then is given the opportunity to submit a

rebuttal report and, if requested and allowed by the [c]ourt, a reply expert report

may follow.”).2 As the court in Oracle America eloquently put it: “A party with

the burden of proof on an issue should not be allowed to secretly prepare an army

of ‘rebuttal’ experts to attack the opposition reports like Odysseus and the Greeks

springing forth from their wooden hideout in Troy. If they were allowed to do so,

their work would not be subject to a direct response from any opposing expert.”

2011 WL 5572835, at *3. The Court should not countenance such unfairness,

particularly given that plaintiffs were able to probe and challenge defendants’

experts’ opinions on O’Brien 2024, while the Court prohibited depositions of

plaintiffs’ experts after May 28, 2024. (See ECF No. 32214.)

      Moreover, plaintiffs’ disclosure, to borrow plaintiffs’ phrasing, would

necessarily “up-end” the Court’s carefully crafted expert discovery schedule.

Should the Court permit Dr. Stuart’s report, defendants would need to depose Dr.

Stuart, possibly file additional Rule 702 motions concerning her opinions, and

offer rebuttal reports of their own. Because the Court has made clear that it will



2
       Indeed, the Advisory Committee note to Federal Rule of Civil Procedure 26
provides that “in most cases the party with the burden of proof on an issue should
disclose its expert testimony on that issue before other parties are required to make
their disclosures with respect to that issue.” Fed. R. Civ. P. 26 advisory
committee’s note to 1993 amendment (emphasis added).


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not entertain any further extensions of pretrial deadlines, there is no way to make

that happen. (ECF No. 32991 at 2 n.1 (“The Court will not entertain any requests

for an extension of the current briefing dates.”).) As a result, unless Dr. Stuart’s

patently untimely and unjustified report is stricken, defendants will have no way to

challenge it in advance of trial.

                                    CONCLUSION

       For the foregoing reasons, the Court should strike the expert report from Dr.

Stuart in full.


Dated: July 30, 2024                     Respectfully submitted,

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